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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

UNITED STATES OF AMERICA, )
                          )
v.                        )                INDICTMENT NUMBER:
                          )                   5:21-CR-09
BRETT DONAVAN BUSSEY,     )
                          )
    Defendant.            )

              DEFENDANT BRETT BUSSEY’S
      OBJECTIONS TO THE MAGISTRATE JUDGE’S ORDER
         DENYING HIS MOTION FOR RETURN OF SEIZED
          PROPERTY FROM HIS SUNTRUST ACCOUNT

      Defendant Brett Bussey files this, his Objections pursuant to Federal

Rule of Criminal Procedure 59(a), to the Magistrate Judge’s Order Denying

his Motion for Return of Seized Property from his SunTrust Account, (doc #

1184), and shows the Court the following:

 1. Introduction.

      Pursuant to Federal Rule of Criminal Procedure 59(a), a defendant

may file objections to a magistrate judge's nondispositive order “within 14

days after being served with a copy of a written order.” Fed. R. Crim. P. 59(a).

“The district judge must consider timely objections and modify or set aside

any part of the order that is contrary to law or clearly erroneous.” Id. “[A]

ruling is contrary to law when the magistrate judge has misinterpreted or

misapplied the applicable law.” United States v. Wimbley, No. 11-cr-0019,

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2011 WL 3204539, at *2 (S.D. Ala. July 27, 2011) (overruling magistrate's

order) (quotation marks and citation omitted). “[A] finding is clearly

erroneous when although there is evidence to support it, the reviewing court

on the entire evidence is left with the definite and firm conviction that a

mistake has been committed.” Id. (citations omitted). The clearly erroneous

standard applies only to the magistrate’s finding of fact. Horn-Brichetto v.

Smith, 2019 WL 921454, at 19 (E.D. Tenn. Feb. 25, 2019). An Order is

contrary to law when it fails to apply or misapplies relevant statutes, case

law, or rules of procedure. United States v. U.S. Gypsum Co., 333 U.S. 364,

395 (1948).

 2. Procedural History.

     The government indicted Mr. Bussey and 23 other defendants on

October 5, 2021. See Doc # 3. The prosecution charged the defendants in a

50-page indictment with alleged participation in a criminal organization

engaging in international forced labor trafficking, mail fraud and money

laundering from at least 2015 through October 2021. Id. at ¶¶ 1, 9.

     On November 17, 2021, the government presented an Application for a

Warrant to Seize Property Subject to Forfeiture under 18 U.S.C. § 981 to seize

the contents of the Sun Trust Account of Mr. Bussey, account no.




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xxxxxxxxxxx9535. A copy of the Seizure Affidavit is attached to Mr. Bussey’s

Motion for Return as Exhibit 1 under seal as doc # 640-1.

      The government’s approach to this forfeiture is troubling. They

obtained a civil forfeiture warrant, but never began with the filing of a civil

complaint. The warrant recites that the most recent bank account statement

showed a balance of $11, 243.77, doc # 640-1, ¶ 145, but they seized the entire

amount in the account - $23,593.60. Doc # 640, p. 3. But the only reference

to any monies deposited into the account was for $8,850, doc # 640-1, ¶ 142.

The Magistrate concludes, erroneously, that the investigation traced the

proceeds of criminal activity. As discussed below, the government’s

investigation did not establish traceable proceeds.

      The Affidavit cites United States v. All Funds Presently on Deposit or

Attempted to be Deposited in Any Accounts at American Express Bank, 832

F.Supp. 542 (E.D.N.Y. 1993), alleging that 19 U.S.C. § 984 permits the seizure

of monies held at the target location as long as the funds identified are

believed to have been “acquired within the one-year fungibility limit in

Section 984(b).” Id. at p. 5, ¶ 9.

      The Affidavit then discusses the one-year statute of limitation

contained in Section 984 contending that Congress intended the seizure of

property, or the filing of a complaint to constitute the “action” to be


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commenced within one year. Id. p. 5 - 6, ¶ 11. As discussed below, the

Affidavit fails to inform this Court of persuasive authority that holds it is not

the seizure of property that is the commencement of an action, but the filing

of a civil forfeiture complaint. The Affidavit concludes this section by

claiming that “the dates of the offenses giving rise to the seizure are within

the one period.” Id. p. 6, ¶ 12.

      The Affidavit states that records were reviewed from February 10, 2018

through January 31, 2020 and from October 1, 2020 to March 31, 2021. Id.

p. 49, ¶ 144. The affiant asserts that between October 12, 2018, and

September 17, 2019, 8 payments were made to the U.S. Citizenship and

Immigration Services totaling $3,680 for obtaining foreign workers’ visas.

Id. And, that there was approximately $68,012.21 deposited into the account,

and approximately $69,409.62 withdrawn from the account. Id. The agent

concludes that “some legitimate funds are in the account,” however, she

believes that Mr. Bussey knowingly commingled legitimate funds with funds

subject to forfeiture. Id. p. 50, ¶ 146.

      The affiant provides no indication as to which funds deposited into the

account were subject to forfeiture, or which funds deposited into the account

were not subject to forfeiture. The last bank statement reviewed before




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seizure, March 31, 2021, showed a balance of $11,243.77. Id. p. 49, ¶ 145, but

the government seized $23,593.60. Doc # 296, p. 1.

      The affiant concludes that from her review of the bank records from

Mr. Bussey’s SunTrust account it “does appear that some legitimate funds

are in the account. However, based on my training and experience and this

entire investigation, I believe Defendant Brett Bussey knowingly comingled

(sic) these legitimate funds with funds subject to forfeiture in this account.”

Id. p. 50, ¶ 146.

      Mr. Bussey filed a Motion for Return of Seized Property from his

SunTrust Account. Doc # 640. The government opposed the motion. Doc #

933. Mr. Bussey filed a Reply. Doc # 942.

      In denying the Motion for Return, the Magistrate concluded that the

warrant authorized seizure of funds directly traceable to substantive offenses

and was therefore subject to forfeiture under Section 981. Doc # 1184, p. 6.

And the Magistrate erroneously concluded that the warrant authorized

seizure under 21 U.S.C. § 853. Id. at p. 6-7.

 3. The Magistrate’s Order is Clearly Erroneous and Contrary to
    Law.

      Respectfully, the Magistrate erroneously concludes that the Agent

Linemann’s affidavit sought a warrant to seize funds directly traceable to

substantive offenses. Id. at p. 6. The Magistrate states that the Linemann

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Affidavit at p. 8 plainly contends that the SunTrust funds were traceable to

mail fraud and wire fraud setting forth the legal basis for seizing directly

traceable property. Id. The Magistrate misreads the Affidavit. There was

approximately $68,012.21 deposited into the account, and approximately

$69,409.62 withdrawn from the account. The agent concludes that “some

legitimate funds are in the account,” however, she believes that Mr. Bussey

knowingly commingled legitimate funds with funds subject to forfeiture. Doc

# 640-1, p. 50, ¶ 146. At paragraph 8, the Agent simply sets forth the various

bases for seizing property. The government’s application for the warrant was

under 18 U.S.C. § 981. Doc # 640-1, p. 1. And the affidavit concludes that the

property is subject to forfeiture under § 981 and § 984. Doc # 640-1, p. 667,

¶ 145. The Magistrate erred in his reading of the Affidavit and the statutory

text in concluding that Section 981 would provide the government a path to

seizure of traceable funds.

      The Affidavit invoked two civil forfeiture statutes to justify the seizures:

18 U.S.C. § 981, and 18 U.S.C. § 984. Id. p. 4-5, ¶¶ 7 – 11. Civil forfeiture

action is an in rem proceeding brought by the government as plaintiff

asserting that “all right, title, and interest in [the defendant] property” has

vested in “the United States upon commission of the act giving rise to

forfeiture.” 18 U.S.C. § 981(f). The suit is brought not against a person or


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corporation, but against defendant property that allegedly has been involved

in criminal activity. “It is the property which is proceeded against, and, by

resort to a legal fiction, held guilty and condemned as though it were

conscious instead of inanimate and insentient.” Various Items of Pers. Prop.

v. United States, 282 U.S. 577, 581 (1931). The government's forfeiture filing

is not a civil forfeiture action and as such, § 984(b) has no application to the

criminal forfeiture allegations against Mr. Bussey in the indictment.

 4. The Three Bases For Forfeiture.

      Sections 981 and 984 provide three statutory bases for forfeiture of

property:

       (1)   Property that is “involved in a transaction or attempted

             transaction in violation of section 1956, 1957 or 1960,” 18 U.S.C.

             § 981(a)(1)(A);

       (2)   Property that is “traceable” to such property, 18 U.S.C. §

             981(a)(1)(A); or

       (3)   As to funds on deposit in a financial institution, “identical

             property found in the same place or account as the property

             involved in the offense that is the basis for the forfeiture shall be

             subject to forfeiture under this section.” 18 U.S.C. § 984(a)(2).




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      In this case, the government’s seizure affidavit traveled under the third

basis, under 18 U.S.C. § 984(a)(2). Yet section 984(b) provides that “[n]o

action pursuant to this section to forfeit property not traceable directly to the

offense that is the basis for the forfeiture may be commenced more than 1

year from the date of the offense.” The one-year limitation of section 984(b)

is triggered not by the seizure of the funds, but by the commencement of a

civil complaint for forfeiture.

       1. Funds On Deposit In A Financial Institution Are
          Substitute Fungible Property.
      Congress enacted section 984 as a substitute property provision

designed to avoid the “zeroed out” loophole in the “lowest intermediate

balance” method of forfeiture and to avoid the onerous tracing requirements

that are often impossible in a digital, financial world. Funds deposited into

an account at a financial institution are fungible property and section 984

allows for the forfeiture of substitute of fungible property. Section 984(a)(1)

states that “[i]n any forfeiture action in rem in which the subject property is

cash [or] . . . funds deposited in an account in a financial institution,” the

government is not required “to identify the specific property involved in the

offense that is the basis for the forfeiture.” 18 U.S.C. § 981(a)(1)(A). In other

words, the Government need not identify the exact dollars that were

deposited into the account. Rather, section 984(a)(2) provides that: “Except

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as provided in subsection (b), any identical property found in the same place

or account as the property involved in the offense that is the basis for the

forfeiture shall be subject to forfeiture under this section.” Therefore, the

government can substitute the tainted funds with identical property found in

the same place as the property involved in the offense that is the basis of the

forfeiture. Respectfully, the Magistrate erred in concluding the monies

discussed in the Affidavit were traceable.

       2. The Government Did Not File a Complaint Within One
          Year and the Seized Funds Should be Returned.
      In United States v. $8,221,877.16 in United States Currency, 330 F.3d

141, 159 (3rd. Cir. 2003), the court encountered whether the government’s

forfeiture complaint was untimely under section 984. The government

argued that because it had seized funds within one year of the criminal

activity, it could avail itself of the one-year look back provision of section 984.

After examining the interaction between section 984 and section 981, the

court noted that section 984 was designed to permit the government to seize

funds involved in money laundering that had been commingled with

untainted monies. Id. at 158. The Third Circuit held that section 984, by its

plain and unambiguous language, requires the filing of a complaint within

one year of the offense. Id. at 161.




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      The Court noted that interpretation of the statute was not open to

debate since the statute was unambiguous. “[w]here a time limitation for

instituting civil proceedings is concerned” - as it is here - the word

“commence” means the filing of a civil action. Id. at 159, citing, McNeil v.

United States, 508 U.S. 106, 112 (1993). (Emphasis supplied).

      The Third Circuit looked to the statute’s language, noting that where

the statute's language is plain, “‘the sole function of the courts is to enforce it

according to its terms.’” Id. citing Caminetti v. United States, 242 U.S. 470,

485 (1917). The court then stated that “in order to forfeit property that is not

directly traceable to the offense under Section 984, the government must file

a complaint within one year of the date of the offense.” Id. at 161.

      Similarly, in United States v. Currency, $300,000 Seized From Bryant

Bank Account Number XXX-XX-XXXX, 2013 WL 1498972, *5 (N.D. Ala.

April 9, 2013), the district court addressed whether an action is commenced

under the statute at the time of seizure, or the time of the filing of a

complaint. In that case, the court found that the correct approach was the

one articulated by the Third Circuit above. The district court looked to the

basic rules of statutory construction as established by controlling Eleventh

Circuit precedent, which requires courts to presume that the legislature

means what it says. Id. The plain language of section 984 provides that “no


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action pursuant to this section to forfeit property not directly traceable to the

offense . . . may be commenced more than 1 year from the date of the offense.”

And, like the Third Circuit, the court found that the term commenced has an

unambiguous meaning – the filing of a civil action. Id. at *6. Accord, United

States v. $303,581.82 in United States Currency Seized From Wells Fargo

Account # [Redacted] 0434 in the Name of Murray Auto Sales, 2010 WL

1657154 (D. Utah April 22, 2010).

      The affiant repeatedly invokes Section 984 in her Affidavit by claiming

that there were “comingled” legitimate funds with funds subject to forfeiture

in order to claim the funds are fungible. Id. at p. 39, ¶ 106; p. 43, ¶ 118; p. 50,

¶ 146; p. 54, ¶ 156; p. 57, ¶ 168; p. 60, ¶ 179 (target subjects); p. 64, ¶ 179

(target subjects);1 p. 65, ¶ 184 (target subjects); p. 67, ¶ 190. The Magistrate’s

conclusion that Agent Linemann obtained a warrant for funds directly

traceable to substantive offenses was clear error. Doc # 1184, p. 6.

      Mr. Bussey’s Objections to the Magistrate Judge’s Order Denying his

Motion for Return of Seized SunTrust Property should therefore be granted.

       3. The Warrant Was Not a Criminal Forfeiture Warrant.

      The Magistrate points to one reference in the 68 page affidavit where

Agent Linemann stated that the application was under 21 U.S.C. § 853(f) to


1 Starting on page 61 of the Affidavit, paragraphs numbered 172 – 179 are duplicated,

although the content of the paragraphs is different.
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conclude the warrant was a criminal forfeiture warrant. Doc # 1184, p. 6. The

Magistrate erroneously concludes that the warrant and seizure were based

on civil and criminal forfeiture authority. Id. at 7.

      That conclusion reads out of paragraphs 9 through 11 of the Affidavit

and the Application showing the warrant was sought under the authority of

Section 981.

      Finally, the Magistrate errs in concluding Mr. Bussey has not

established that he is entitled to lawful possession of the SunTrust property.

No civil forfeiture action was commenced within one year of the date of the

offense; therefore, the government is in wrongful possession of Mr. Bussey’s

property as the one-year statute of limitations bars the seizure.

      The Magistrate and the government segue between the civil and

criminal forfeiture. The government never began a civil forfeiture action, so

they are illegally in possession of Mr. Bussey’s SunTrust bank account

monies. That is the illegality here that permits this Court to Order the return

of his property.2




2 A court may order the government to return unlawfully seized monies.

United States v. Mann, 140 F.Supp. 3d 513, 535 (E.D. N.C. 2015).
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     WHEREFORE, based on all the reasons and authorities cited above,

Mr. Bussey respectfully requests that this Court overrule the Order Denying

his Motion for Return of Seized Property from his SunTrust Account.

     This 3rd day of December, 2024.


                                  /s/Thomas A. Withers, Esq.
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that I have on this day served all the parties

here in accordance with the notice of electronic filing (“NEF”) which was

generated as a result of electronic filing in this court.

      This 3rd day of December, 2024.

                                     /s/Thomas A. Withers, Esq._
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